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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK
__________________________________________
MARK J. KWOKA AND ESME PRIVATE LABEL LLC,


                      Plaintiffs,               Docket No.:
               v.
                                                    FIRST AMENDED
Diane D’Angelo d/b/a Lasting Memories,                COMPLAINT
                      Defendant.
__________________________________________


Plaintiffs, Mark J. Kwoka and Esme Private Label LLC, through their
attorneys Segal Gebski & Berne LLP, alleges:


                                PARTIES

1.   Plaintiff Mark J. Kwoka, is a natural person domiciled in the
State of Florida and residing at 9265 Dundee Dr., Lake Worth, FL
33467.
2.   Plaintiff Esme Private Label LLC, is a New York domestic
Limited Liability Company with its principal place of business
located in the City, County and State of New York, and comprising
of three members:
     i) Mark J. Kwoka, domiciled in the State of Florida and
     residing at 9265 Dundee Dr., Lake Worth, FL 33467.
     ii) Mark P. Kwoka, domiciled in the State of New York, and
     residing at 3348 Perry Avenue, Bronx, NY 10467.
     iii) Philip M. Kwoka domiciled in the State of New York, and
     residing at 3348 Perry Avenue, Bronx, NY 10467.
3.     Defendant Diane D’Angelo, is domiciled in the State of
Tennessee, and residing at 7909 Whitcomb Rd Powell, TN 37849.
4.    Upon information and belief, Ms. D’Angelo also conducts
business through an unincorporated entity Diane D’Angelo d/b/a


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Lasting Memories, having its principal place of business located
at 7909 Whitcomb Rd Powell, TN 37849.



                       JURISDICTION AND VENUE

5.   This Court has jurisdiction over this action pursuant to 28
U.S.C. § 1332. The amount in controversy exceeds the sum of
$75,000, exclusive of interest and costs, and there is diversity
of citizenship between Plaintiffs and the Defendant.
6.   Venue is proper in the Southern District of New York pursuant
to 28 U.S.C. §1391(c)(1)&(2).
                                 FACTS

     A. The Historical Relationship Between the Parties
7.   Plaintiff Mark J. Kwoka, having over 30 years of experience
in the business of bridal gowns and accessories, met the Defendant
Diane D’Angelo, in March of 2019 during the New York Bridal Market
trade show.

8.    That, for approximately past five years, Plaintiff Mark J.
Kwoka and Defendant Diane D’Angelo, cooperated as equal partners,
each having 50% company membership interest, in the Florida Limited
Liability Company, the Esme Designs LLC.

9.   Based on the past 5 years of cooperation, in or about January
30, 2024, Plaintiff Mark J. Kwoka, approached his partner and
herein   Defendant   Diane   D’Angelo,  about   dissolving   their
cooperation and proposed an amicable resolution equally benefiting
each party.

10.   That since January 30, 3024 and all times thereafter, Mr.
Kwoka was under impression that the verbal agreement was reached,
and parties agreed to memorize their conclusions with an initial
Memorandum of Understanding (the “MOU”), to be followed by an
official termination and dissolution agreement.

11.    At that time, parties were in the process of preparing to
present their products at the National Bridal Market, a trade show
to be held in Chicago, Illinois on 17-19 March 2024. The tradeshow
booth rental fees were paid by the Florida company, Esme Designs
LLC. For the purpose of the Chicago Bridal Market, parties verbally

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agreed to split the already rented space 75% Mr. Kwoka and 25% Ms.
D’Angelo.

12.     Furthermore, as agreed on or about February 16, 2024,
Plaintiff sent his MOU draft to the Defendant for her comments
and/or endorsement.

13. On or about February 28, 2024, without any notice, Defendant
Diane D’Angelo fraudulently blocked Mr. Kwoka’s access to their
company’s bank account held at the Bank of America.

14. On or about February 29th 2024, Mr. Kwoka received a legal
correspondence from Mike A. Hickman, a Tennessee attorney who,
falsely claimed that Mr. Kwoka has no legal rights to the company’s
bank account and its accounting software. Mr. Hickman, further
alleged unspecified fraudulent activity and requested that Mr.
Kwoka “… are to have no further contact with Ms. D’Angelo” and
should Mr. Kwoka “have any need to contact her [Ms. D’Angelo]” he
should do it directly through him.

15. Shortly thereafter, on March 11, 2024, Marius Gebski, Esq., on
behalf of Mr. Kwoka replied to Mr. Hickman’s letter, expressing
his client’s confusion and pointing certain operational obstacles
related to Mr. Hickman’s requested ban on communications between
the LLC’s partners, such as the tax season deadlines and the
upcoming National Bridal Market trade show which, in the past,
generated approximately 80% of parties’ revenue.

16.   As of the date of the within complaint, Mr. Hickman nor any
other legal representative replied to Mr. Gebski’s letter or
otherwise contacted Mr. Kwoka.



     B. Defendant’s Improper Efforts to Jeopardize Mr. Kwoka’s
        Business Opportunities

17. Upon information and belief, Defendant has engaged in various
actions designed and intended to deprive Plaintiffs of sales,
undermine their business opportunities, and prevent them from
acting as a distributor of Esme Designs’ products.

18. In so doing, Defendant has engaged in deceptive practices,
committed misrepresentations, made knowingly false representations

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to third parties and failed to share her business plans with Mr.
Kwoka, in a direct violation of their verbal partnership agreement
and Defendant’s fiduciary duty.

19. In so doing, Defendant acted in bad faith and with the intent
to damage Plaintiffs’ business interests.



                       FIRST CAUSE OF ACTION
 (Breach of Fiduciary Duty and Partnership Agreement embedded in
                      the jointly owned LLC)

20. Plaintiffs repeat the allegations of the foregoing paragraphs
for this Complaint as if set forth at length herein.

21. That Defendant D’Angelo was acting as a fiduciary of Mr. Kwoka
and their joint company Esme Designs LLC.

22. That, Defendant D’Angelo has breached her obligations under
the verbal Agreement with Plaintiff Mark Kwoka to the detriment of
Esme Designs LLC, by failing to provide timely support for sales
of their products, by spreading false statements about Mr. Kwoka
and spreading overall misinformation throughout bridal gowns
industry, which resulted in Esme Designs LLC and Mr. Kwoka not
being able to participate in the 2024 National Bridal Market in
Chicago.

23.    That, Ms. D’Angelo deceived Mr. Kwoka into believing that
parties are on the path of amicable dissolution of their business
relationship, when instead Defendant just used this time to set up
her competing operations while utilizing the funds, resources and
business opportunities of Esme Designs LLC to the great detriment
of the company and its equal shareholder Mr. Mark J. Kwoka.

24. As a direct and proximate result of said breaches, Plaintiff
Mark J. Kwoka, has been and continues to be damaged.

       WHEREFORE, Plaintiffs demand judgement against the Defendant
for:

       (a) compensatory and consequential damages in the amount of
         One Million Dollars ($1,000,000.00), plus interest;
       (b) for costs of suit, including attorney’s fees; and


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for such further relief as the Court deems just and equitable.



                      SECOND CAUSE OF ACTION
   (Breach of Implied Covenant of Good Faith and Fair Dealing)


25. Plaintiffs repeat the allegations of the foregoing paragraphs
of this Complaint as if set forth at length herein.

26. That, Plaintiff’s Mark J. Kwoka agreement with the Defendant
Diane D’Angelo, as stated above, there is an implied covenant of
good faith and fair dealing.

27. As is set forth above, Defendant, has breached her obligation
of good faith and fair dealing under the agreement by failing to
provide timely support for sales and marketing of Esme Designs
LLC’s product.

28. That, Defendant D’Angelo, have breached her obligation of good
faith and fair dealing under the agreement with Mr. Kwoka, by
failing to advise Plaintiff of her conflicting business plans and
by otherwise spreading false rumors to further damage Mr. Kwoka’s
credibility in the bridal market industry.

29. In addition, Defendant D’Angelo             failed   to   perform   her
obligations under said agreement.

30. Defendant D’Angelo have acted in bad faith and deprived
Plaintiff Kwoka of the benefit of the parties’ agreement.

31. As a direct and proximate result of said breaches, Plaintiffs
have been and continue to be damaged.

       WHEREFORE, Plaintiffs demand judgement against the Defendant
for:

       (a) compensatory and consequential damages in the amount of
         Five   Hundred  Thousand   Dollars  ($500,000.00),   plus
         interest;
       (b) for costs of suit, including attorney’s fees; and
for such further relief as the Court deems just and equitable.



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                        THIRD CAUSE OF ACTION
                     (Breach of Implied Contract)

32. Plaintiffs repeat the allegations of the foregoing paragraphs
of this Complaint as if set forth at length herein.

33. There was a meeting of the minds between Plaintiff Kwoka and
the Defendant D’Angelo, pursuant to which Defendant would provide
exclusive support for sales of their product to the benefit of
their joint company Esme Designs LLC. Consideration for
Plaintiffs’ business efforts was the termless pendency of their
Agreement, and the business that grew to over $500,000 in yearly
sales, over the past 5 years.

34. Plaintiff Kwoka performed his aspect of this agreement.

35. As is stated more fully above, Defendant D’Angelo breached her
obligations under the agreement by refusing to cooperate in the
winding down of their operations, Esme Design’s participation in
the National Bridal Market and overall failing to communicate with
Mr. Kwoka either herself or through her legal representative.

36. As a direct and proximate result of said breaches, Plaintiffs
have been and continue to be damaged.

       WHEREFORE, Plaintiffs demand judgement against the Defendant
for:

       (a) compensatory and consequential damages in the amount of
         Five   Hundred  Thousand   Dollars  ($500,000.00),   plus
         interest;
       (b) for costs of suit, including attorney’s fees; and
(c)for such further relief as the Court deems just and equitable.



                          FORTH CAUSE OF ACTION
                          (Equitable Estoppel)

37. Plaintiffs repeat the allegations of the foregoing paragraphs
of this Complaint as if set forth at length herein.

38. In reliance on Defendant’s promise, Plaintiff Mark J. Kwoka
acted to his detriment by investing time, money and resources in

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building the national market for the Defendant and their joint
business enterprise.

39. However, Defendant failed and refused to keep her promise.

40. In reliance on Defendant’s words and conduct, Plaintiff Mark
J. Kwoka, has changed his position while working in the bridal
market, refused other business opportunities, and otherwise acted
to his detriment.

41. As a direct and proximate result of Plaintiff Kwoka’s reliance
and Defendant’s failure to perform her promise, Plaintiffs have
been and continue to be damaged.

       WHEREFORE, Plaintiffs demand judgement against the Defendant
for:

       (a)   compensatory and consequential damages in the amount of
             Five Hundred Thousand Dollars ($500,000.00), plus
             interest;
       (b)   for costs of suit, including attorney’s fees; and
for such further relief as the Court deems just and equitable.


                          FIFTH CAUSE OF ACTION
                                 (Fraud)

42. Plaintiffs repeat the allegations of the foregoing paragraphs
of this Complaint as if set forth at length herein.

43.   In   numerous,   direct   in-person  meetings,   telephone
conversations and e-mail correspondence between the parties,
numerous customers’ orders, and/or 4 years of jointly filing tax
returns, Defendant acknowledged her equity in the partnership
being the Esme Designs LLC.

44. That, at this time, Defendant, refuse to honor her obligations
to Mr. Kwoka, Esme Designs LLC and their customers.

45. That, at this time, Defendant, continues to derail Esme Designs
LLC customers to her own competing business operation being Diane
D’Angelo d/b/a Lasting Memories.



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46.    That, at this time, Defendant, continues to spread false
misinformation about Mr. Kwoka and Esme Designs LLC, among the
bridal industry, as well as, among existing and potential
customers.

47.     That without any justification or Mr. Kwoka’s consent,
Defendant D’Angelo, fraudulently utilized funds of Esme Design LLC
for personal purposes and to fund Defendant’s competing business.
Such fraudulent usage of Esme Designs company funds includes but
is not limited to, paying trade show fees for Defendant’s competing
business, paying legal fees for personal affairs and/or
withdrawing all of the remaining funds from the company’s bank
account held at the Bank of America.

48. As a direct and proximate result of Defendant’s fraudulent
acts, misrepresentations and Mr. Kwoka’s reliance thereon,
Plaintiffs have been and continue to be damaged.

          WHEREFORE,    Plaintiffs       demand   judgement   against   the
Defendant for:

     (a)   compensatory and consequential damages in the amount of
           Five Hundred Thousand Dollars ($500,000.00), plus
           interest;
     (b)   for costs of suit, including attorney’s fees; and
for such further relief as the Court deems just and equitable.
                              JURY DEMAND

          Plaintiffs hereby demand a trial by jury with respect to
all issues so triable.


                           SEGAL GEBSKI & BERNE LLP
                           Attorneys for Plaintiffs

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